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                                         The application is GRANTED in part. The parties' deadline to
October 19, 2020
                                         respond to any motions in limine (see Dkt. No. 93), is extended to
                                         November 13, 2020.
Via ECF
                                 The parties' request to file replies to the motions in limine is
The Honorable Lorna G. Schofield DENIED. See Individual Rule IV.B.3.
United States District Judge
Southern District of New York    Dated: October 20, 2020
40 Foley Square                         New York, New York
New York, NY 10007

          Re:    United States v. Stephen M. Calk, 19 Cr. 366 (LGS)

Dear Judge Schofield:

               We write with the consent of the government to request a modification of the
briefing schedule for the parties’ motions in limine, which will be filed on October 23, 2020, as
previously scheduled. (See Dkt No. 93).

              The parties jointly request that the time to respond to the motions be extended
from October 30 to November 13, 2020, and that the parties be permitted to file replies on or
before November 20, 2020.


Respectfully submitted,

/s/ Paul H. Schoeman

Paul H. Schoeman
Darren A. LaVerne

cc:       All counsel (via ECF)




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